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UNITED sTATEs DISTRICT CoUI'i`"TW _
wEsTERN DISTRICT 0F TENNESSEE:, l 53 M §§ _?
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2 :04cr20245-Ml

MICHAEL MARTIN

 

ORDER OF DETENT|ON PENDING TRIAL
FlNDINGS
ln accordance with the Bail Refonn Act, 18 U.S.C. § 3 ]42(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

°“** ARRAIGNMENT SET WE])NESDAY MAY 25, 2005 at 10:003m in C/R M-3 ***
DIRECT|ONS REGARD|NG DETENT!ON

MICHAEL MARTIN is committed to the custody of the Attomey General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. MICHAEL MARTIN shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

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"' "“ DIANE K. vEsCo\/o
uNITED srATEs MAGIsrRArE JUDGE

 

This document entered on the docket she? ln’§§:r£hanca
with Ru|e 56 and/or 32(b) FFlCrP on §§ §

 

UNITED sTATE iSTRIC COURT - WTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CR-20245 was distributed by faX, mail, or direct printing on
May lS, 2005 to the parties listed.

 

 

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Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

